   Case 2:10-md-02179-CJB-DPC Document 4751-1 Filed 11/29/11 Page 1 of 1


                       UNITED STATES DISTRICT COURT

                       EASTERN DISTRICT OF LOUISIANA

IN RE: OIL SPILL BY THE OIL RIG   *              CIVIL ACTION
“DEEPWATER HORIZON” IN THE        *              NO. 2:10-MDL-02179
GULF OF MEXICO, ON APRIL 20, 2010 *
                                  *              SECTION “J”
This Document Relates to: 10-888  *
                                  *              JUDGE BARBIER
                                  *
                                  *              MAGISTRATE SHUSHAN
**********************************

                                    ORDER

      Considering the foregoing Motion to Withdraw as Counsel of Record for

      Rochel Occy (49194);          Roldoph Vergin (53038); and
      Edna Vallius (49737);         Messilien Georges (52671).


            IT IS ORDERED that Martins I. Imudia, Martins I Imudia &

Associates, Terrence J. Lestelle, Andrea S. Lestelle, Jeffery B. Struckhoff, and

Richard M. Morgain, Lestelle & Lestelle, A Professional Law Corporation, are

hereby withdrawn as counsel of record for

      Rochel Occy (49194);          Roldoph Vergin (53038); and
      Edna Vallius (49737);         Messilien Georges (52671).



New Orleans, Louisiana, this   ____ day of _______ _, 2011.




                                            _____________________________
                                             U.S. DISTRICT COURT JUDGE
